Case 21-00099-NGH         Doc 55    Filed 10/06/21 Entered 10/06/21 12:39:45             Desc Main
                                   Document      Page 1 of 1



                             UNITED STATES BANKRUPTCY COURT

                                     DISTRICT OF IDAHO

 In re:
                                                   Case No. 21-00099-NGH
 JENNIFER HOLMES.,
                                                   Chapter 7
                   Debtor.

                          ORDER DENYING HOMESTEAD EXEMPTION

          The Trustee’s Objection to Debtor’s Claim of Homestead Exemption (Docket No. 29 – the

“Objection”) having come before the Court; the Court having reviewed the Objection; an

evidentiary hearing having been held in the matter on September 14, 2021; having reviewed the

submissions and for good cause showing; and for the reasons outlined by the Court in its oral ruling

on September 28, 2021;

          IT IS HEREBY ORDERED, ADJUDGED AND DECREED that the Trustee’s Objection

is sustained, and the Debtor’s homestead exemption claim is DISALLOWED. // end of text //

DATED: October 5, 2021

                                              _________________________
                                              NOAH G. HILLEN
                                              U.S. Bankruptcy Judge


Order submitted by: Matthew T. Christensen, attorney for the Trustee
